
ON BEHEADING.
The principal opinion is vigorously assailed by both parties to the writ; by the defendant in error because it is claimed to be fundamentally erroneous, and by the plaintiff in error because it stops short of a decision that he made out a good case by his proof and was therefore entitled to a judgment on his verdict and of right ought to have a direction to the trial court to enter one thereon in his favor. We shall adhere to our conclusion that the record presents but a single proposition and that we are not obligated to consider or decide any other. To our observation it is never true that where there are two bases on which a decision can be predicated a court is bound to establish both or either to the exclusion of the other. The right of selection is inherent and when the court concludes the one to be correct and it commends itself to the court’s judgment, we do not believe the profession can complain that the other has not been taken, though in their judgment and in the particular case the latter might be either more useful or more advantageous.
The one error laid was that the court ought not to have entered judgment non obstante for the defendant after the jury had rendered a verdict for the plaintiff. We think this is right. We regard the question as settled by the Qaimby case. The case is criticised and its force as an authority questioned on the ground that the point was unnecessary to the decision. This we camiot concede because there is nothing in the opinion to indicate it. The question was directly presented by the substance of the motion which the court discussed; it was treated as involved and was specifically *60passed on. That there were other matters on which the court might have rested its decision in no way affects the binding force of its declaration on this.
The defendant in error has favored us with an able and strong argument to the contrary, based on the general theory that one of the principal purposes of the code practice is to render it possible for the courts to disregard all technical distinctions and on the broad and liberal lines of equity procedure do whatever may be necessary to effectuate the right and accomplish exact justice in the matter before them. They argue with much force that since the judge concluded he ought to have nonsuited the plaintiff he had the right after verdict to enter judgment for the company because in the view he then took of the case made, the plaintiff had failed in his proof. The fundamental difficulty with the argument is that though we concede the code has endeavored to abolish many of the forms and technical rules and distinctions of the common law, it has yet established forms and procedure of its own. There was an attempt and as we believe a successful one, to prescribe an orderly and definite plan for the institution, prosecution and trial of suits. Perhaps not definite and precise as to all steps and fitted to every emergency. Where there is no provision we grant the trial court large and liberal powers which may be generously exercised. But when the code has prescribed a practice which is plainly and properly applicable in a given situation we think it must be followed and that no other course can be taken. On the incoming of a verdict the defeated party may move for a new trial. This may be granted or denied. If denied judgment is entered. If granted the verdict is set aside and a new trial is a matter of course and of right. The court cannot deny the right to either party to resubmit the case to another jury, subject of course to the power of the court on the conclusion of the plaintiff’s case to render a judgment of nonsuit. Such a judgment would of course be subject to review and in a proper case the plaintiff might obtain the opinion of the appellate court as to the sufficiency of his evidence.
*61We cannot accede to the request preferred by the plaintiff in error to direct the court below to enter judgment on the verdict. Our attention has been called to several cases of an exceptional character where under peculiar circumstances that has been done. We do not feel called on to review, distinguish or comment on them. As we loot at it, this is not a case where the court should exercise the power if it has it. The trial court was evidently of the opinion that the plaintiff was not entitled to recover and he therefore granted the defendant’s motion for judgment non obstante. As we understand it this practice was not seriously questioned though the consent does not so appear as to conclude the plaintiff in error. Should we now reverse the judgment and direct one to be entered on the verdict, the defendants would not have the right to have the cause resubmitted to a jury, obtain an express opinion of the court below as to the regularity of the trial or the sufficiency of the proof to support the verdict or the right to have the case in this situation reviewed on appeal. All these rights and privileges are given them by the code and we are not clear that in any case we should have the power to deprive them of any one of them. It is quite probable that if we should so modify our judgment we would receive an even more vigorous petition for rehearing. Doubtless the company would be glad to get our opinion that the plaintiff failed to mate out a case and Floyd would be the gainer if our opinion was the other way. Either expression would prejudice one party to the suit and impose a burden on the trial judge with which we do not feel at liberty to load him.
It is our conclusion that the proper judgment is one of simple reversal and when the cause again reaches the trial court the judge presiding can either enter judgment on the verdict or set it aside and grant a new trial as he may be advised.
